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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
501 W. 10th STREET
FORT WORTH, TEXAS 76102

REED 0’ CONNOR 817/850-6788 Chambers
US. District Judge 817/850-6787 Facsimile

October 12, 2022

Karen Mitchell

Clerk of Court

United States District Court
Northern District of Texas
1100 Commerce Street
Dallas, TX 75242

Re: 4:22-cv-00908-O

Dear Ms, Mitchell:

I hereby recuse myself from the above styled and numbered case. Please see that it is
assigned to another judge per the usual procedure.

Sincerely,

   

eed O'Connor
UNITED STATES DISTRICT JUDGE

 

 
